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  UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                     :
AKHMED GADZHIEVICH BILALOV,                                          :
                                                                     : 1:20-cv-09153-AT-KNF
                                              Plaintiff,             :
                                                                     : Hon. Analisa Torres
                           -against-                                 :
                                                                     :
HERMAN GREF, SBERBANK CIB USA, INC., :
SBERBANK OF RUSSIA PJSC, and DOES 1- :
100 inclusive,                                                       :
                                                                     :
                                              Defendants.            :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

              SUPPLEMENTAL MEMORANDUM IN SUPPORT OF MOTION
                   BY SBERBANK OF RUSSIA AND HERMAN GREF
                 TO DISMISS THE SECOND AMENDED COMPLAINT
                  FOR LACK OF SUBJECT-MATTER JURISDICTION


                                                             John S. Kiernan
                                                             William H. Taft V
                                                             DEBEVOISE & PLIMPTON LLP
                                                             919 Third Avenue
                                                             New York, New York 10022

                                                             Counsel for Defendants Sberbank of
                                                             Russia and Herman Gref
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       With prior leave of the Court, Defendants Sberbank of Russia (“Sberbank”) and Herman

Gref (together, the “Russian Defendants”) submit this memorandum to supplement their motion

to dismiss the Second Amended Complaint (the “SAC”), ECF No. 51, to request dismissal

pursuant to Federal Rule of Civil Procedure 12(b)(1) for absence of subject-matter jurisdiction

under the applicable doctrines of immunity.

                                PRELIMINARY STATEMENT

       Under the Foreign Sovereign Immunities Act (the “FSIA”), 28 U.S.C. §§ 1330, 1602–

1611, a foreign state, including its agencies and instrumentalities, is immune from jurisdiction

unless an exception set forth in the FSIA applies. 28 U.S.C. § 1604. Because Sberbank is a

“separate legal person” that is directly majority owned by a “foreign state or political subdivision

thereof,” Sberbank meets the FSIA’s definition of an “agency or instrumentality of a foreign

state.” 28 U.S.C. § 1603(b). Sberbank therefore falls within the FSIA’s definition of “foreign

state” and is entitled to immunity under the FSIA. 28 U.S.C. § 1603(a). No exception to

Sberbank’s immunity under the FSIA applies or is alleged in the SAC. Because the FSIA

provides the sole basis for subject-matter jurisdiction over a foreign state (including agencies or

instrumentalities) in U.S. courts, the Court lacks subject-matter jurisdiction over Plaintiff’s

claims against Sberbank. Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993).

       Mr. Gref, as Sberbank’s chairman and CEO, also is immune from suit in this action.

Sberbank (and not Mr. Gref) is the real party in interest in the suit, Samantar v. Yousuf, 560 U.S.

305, 325 (2010), and in any event, the gravamen of the claims against Mr. Gref relate to actions

in his official capacity that are immunized under the common law of foreign official immunity,

Matar v. Dichter, 563 F.3d 9, 14 (2d Cir. 2009).

       The Russian Defendants reaffirm positions that they have already advanced on why the

SAC should be dismissed on multiple other grounds and refer to their prior briefs for the factual

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context, but submit that the SAC should be dismissed at the outset based on their immunity from

suit.     The Russian Defendants’ assertions of sovereign immunity represent a threshold

jurisdictional question that must be resolved before the Court may consider the merits. Vera v.

Republic of Cuba, 867 F.3d 310, 316-17 (2d Cir. 2017) (“At the threshold of every action in a

district court against a foreign state…the court must satisfy itself that one of the exceptions [to

the FSIA] applies…If the court fails to undertake that analysis and determine for itself that an

exception applies, it has no authority to hear the claim.”) (quoting Verlinden B.V. v. Central

Bank of Nigeria, 461 U.S. 480, 493-94 (1983)) (cleaned up).

                                           ARGUMENT

          A party may move for dismissal for “lack of subject-matter jurisdiction,” Fed. R. Civ. P.

12(b)(1), at any time, even after decision of a motion to dismiss on other grounds. See Fed. R.

Civ. P. 12(g)(2), (h)(3); Torres v. Kohlberg, Kravis, Roberts & Co L.P., 1:20-cv-05025 (MKV),

2021 U.S. Dist. LEXIS 216716 (S.D.N.Y. Nov. 9, 2021).

I.        Sberbank of Russia Is Immune Under the Foreign Sovereign Immunities Act and
          No Exception to the FSIA Applies

          A.      Sberbank Is Majority Owned by the Russian Federation and Is Therefore
                  Presumptively Immune from Suit

          The FSIA provides “the sole basis for obtaining jurisdiction over a foreign state in the

courts of this country.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 443

(1989).        Under the FSIA, a “foreign state”—which is defined to include an agency or

instrumentality of a foreign state, 28 U.S.C. § 1603(a)—is “presumptively immune from the

jurisdiction of United States courts; unless a specified exception applies, a federal court lacks

subject-matter jurisdiction over a claim against a foreign state.” Nelson, 507 U.S. at 355; see 28

U.S.C. § 1604 (under the FSIA, “a foreign state shall be immune from the jurisdiction of the

courts of the United States,” subject to exceptions in the FSIA).

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       The SAC alleges and the Russian Defendants do not dispute that Sberbank is a corporate

entity organized under the laws of Russia that is legally separate from, but majority owned by,

the Russian Federation. See SAC ¶ 22 (government of the Russian Federation “owns 51% of the

bank.”); Sberbank’s Fed. R. Civ. P. 7.1 Disclosure Statement (ECF No. 53) (“The Russian

Federation in the person of the Ministry of Finance of the Russian Federation owns a 50% equity

stake plus one ordinary share in Defendant Sberbank of Russia.”). Sberbank is therefore an

“agency or instrumentality of a foreign state” as defined in 28 U.S.C. § 1603(b), because it is a

“separate legal person, corporate or otherwise,” “a majority of [its] shares or other ownership

interest[s] [are] owned by a foreign state,” and it is not organized under the laws of a U.S. state

or a third country.     As defined in the FSIA, “a foreign state…includes…an agency or

instrumentality of a foreign state.” 28 U.S.C. § 1603(a). As an agency or instrumentality of a

foreign state, Sberbank is “presumptively immune” from suit, and the Court lacks jurisdiction

over the claims against it unless Plaintiff demonstrates that one of the FSIA’s exceptions to

sovereign immunity applies. Nelson, 507 U.S. at 355; cf. 28 U.S.C. §§ 1605–1607 (listing

exceptions to immunity under the FSIA).

       B.      No Exception to the FSIA Applies

       To avoid dismissal based on immunity, a complaint’s factual allegations must establish

an exception to immunity under the FSIA; merely presenting “[a] good argument to that effect is

not sufficient.” Bolivarian Republic of Venezuela v. Helmerich & Payne Int’l Drilling Co., 137

S. Ct. 1312, 1316 (2017). “Bald assertions” and “conclusory allegations” are insufficient to

establish an exception to sovereign immunity. Virtual Countries, Inc. v. Republic of South

Africa, 300 F.3d 230, 241 (2d Cir. 2002) (citations omitted). Here, Plaintiff’s factual allegations

offer no reason to apply any exception to the FSIA.



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              1.      The Commercial Activity Exception Does Not Apply

       Plaintiff’s claims do not satisfy the exception to immunity in 28 U.S.C. § 1605(a)(2) (the

“Commercial Activity Exception”), which provides that foreign states and instrumentalities are

not immune from jurisdiction for an action “[1] based upon a commercial activity carried on in

the United States by the foreign state; or [2] upon an act performed in the United States in

connection with a commercial activity of the foreign state elsewhere; or [3] upon an act outside

the territory of the United States in connection with a commercial activity of the foreign state

elsewhere and that act causes a direct effect in the United States.” (Bracketed numbers added).

The SAC’s claims do not meet any of the exception’s requirements.

       To show that a claim is “based upon” commercial activity in the United States, the

plaintiff has the burden of demonstrating that “the ‘particular conduct’ that constitutes the

‘gravamen’ of the suit” took place in the United States. OBB Personenverkehr AG v. Sachs, 577

U.S. 27, 35 (2015) (quoting Nelson, 507 U.S. at 358). The SAC does not plead a claim that is

“based upon commercial activity carried on in the United States by the foreign state,” but rather

seeks to plead a claim based on allegations that a sequence of wrongful steps that occurred

exclusively in Russia progressively transformed Sberbank from primary lender to owner of

Krasnaya Polyana.    Such alleged foreign misconduct does not fall within the Commercial

Activity Exception. See Nelson, 507 U.S. at 357-58 (granting FSIA dismissal for lack of subject-

matter jurisdiction where complaint was based upon tortious activity outside the United States).

The SAC’s conclusory, incongruous and unsupported allegations of money laundering of

unspecified proceeds in the United States—plus plainly non-commercial activities such as

alleged abuse of process in connection with Plaintiff’s detention for overstaying his visa and

alleged threats to deter him from bringing this action—do not transform Plaintiff’s claims into

causes of action “based upon” commercial activity in the U.S. by the Russian Defendants. See,

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e.g., OBB, 577 U.S. at 34 (establishing “a single element of a claim” through commercial activity

in the United States is “insufficient to demonstrate that the claim is ‘based upon’” that act).

       The SAC’s allegations based on commercial activity all focus on the alleged

misappropriation of Krasnaya Polyana in Russia in 2014. That alleged loss would have taken

place without any acts, commercial or otherwise, in the United States. See Kensington Int’l, Ltd.

v. Itoua, 505 F.3d 147, 156 (2d Cir. 2007) (first prong of the Commercial Activity Exception did

not apply when alleged acts in the U.S. “had no bearing on Kensington’s ability or inability to

recover the money owed by Congo under the loan agreements…Th[e] scheme would have the

same alleged effect…even if all of the oil shipments had been to destinations outside the United

States”).

       The SAC equally does not plead a claim “based…upon” non-commercial acts in the

United States “in connection with a commercial activity of the foreign state elsewhere.” See

Kensington Int’l, Ltd., 505 F.3d at 157. To satisfy this prong of the exception, the alleged non-

commercial acts in the United States must form the “basis” for causes of action alleged in the

complaint. Schoeps v. Bayern, 27 F. Supp. 3d 540, 545 (S.D.N.Y. 2014), aff’d, 611 Fed. App’x

32 (2d Cir. 2015). Here, nine of the ten causes of action are entirely focused on the alleged loss

of ownership in Krasnaya Polyana in Russia in 2014. The tenth cause of action (Count VIII), for

abuse of process allegedly resulting in wrongful arrest, does not satisfy the requirements of being

“based…upon” and “in connection with” the foreign commercial activity involved in the alleged

wrongful acquisition of Plaintiff’s interest in Krasnaya Polyana more than five years earlier. See

Fir Tree Capital Opportunity Master Fund, LP v. Anglo Ir. Bank Corp., 2011 WL 6187077, at

*17 (S.D.N.Y. Nov. 28, 2011) (“Plaintiffs have not, however, pointed to any ‘non-commercial




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act by the Bank in the United States that relates to commercial acts abroad.’”) (emphasis in

original) (quoting Kensington Int’l, Ltd., 505 F.3d at 157).

       The SAC likewise does not plead a claim based “upon an act outside the territory of the

United States in connection with a commercial activity of the foreign state elsewhere [when] that

act causes a direct effect in the United States.” The SAC does not and cannot plead any “direct

effect” in the United States from the Russian Defendants’ commercial activity in Russia resulting

in Plaintiff’s alleged loss of his interest in Krasnaya Polyana, which occurred several years

before Plaintiff moved to the United States. See Kensington Int’l, Ltd., 505 F.3d at 158 (“the

financial losses allegedly suffered by Kensington, a foreign corporation that is not present in the

United States, do not meet the ‘direct effect in the United States’ standard.”); Virtual Countries,

300 F.3d at 241 (affirming dismissal under the FSIA for lack of “direct effect”).

       An effect is “direct” only where “it follows as an immediate consequence of the

defendant’s activity.” Guirlando v. T.C. Ziraat Bankasi A.S., 602 F.3d 69, 74 (2d Cir. 2010)

(ellipsis and internal quotation marks omitted). While the SAC tries to link the loss of Plaintiff’s

interest in Krasnaya Polyana to alleged later money laundering in the United States, that

inadequately pleaded speculation does not, in any event, amount to a direct effect on Plaintiff in

the United States. See SAC ¶¶ 111, 119; Kensington Int’l, Ltd., 505 F.3d at 158 (alleged “straw

men” transactions to hide revenue from creditors, including U.S. creditors, are insufficient to

trigger exception).1



1
        The sole cause of action in the SAC that does not stem from the sale of shares in
Krasnaya Polyana is for malicious abuse of process, which is based on vague and unsupported
allegations that the “Defendants worked in concert with Russian law enforcement agencies, [and]
the Courts, using their broad influence in order to have Plaintiff detained” by ICE in Miami in
October 2019. SAC ¶¶ 144, 224. Putting aside that these allegations do not make out a legally
sufficient abuse of process claim, see Sberbank CIB USA, Inc.’s Mem. in Supp. of Mot. to
Dismiss the SAC (ECF No. 62) at 29-30, these allegations cannot be the basis for denying

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               2.      The Expropriation Exception Does Not Apply

       The exception to immunity in 28 U.S.C. § 1605(a)(3) for certain cases involving “rights

in property taken in violation of international law” when the property is used in the United States

for commercial activity or owned by an agency or instrumentality engaged in commercial

activity in the United States (the “Expropriation Exception”) is not applicable. The loss of

Plaintiff’s alleged ownership interest in Krasnaya Polyana was not an expropriation—and even if

it was, it was not in violation of international law.

       An expropriation is a public act of a sovereign taking ownership of property through

eminent domain, nationalization or similar processes.       In this case, the dispute relates to

Sberbank’s alleged actions as a lender and as a partner that ultimately resulted in its becoming

an owner of Krasnaya Polyana. Even if Sberbank was acting at the behest of the Russian state as

the SAC alleges, see SAC ¶ 172 (p. 33) (alleging campaign for “de-privatization of [Plaintiff’s]

assets), the SAC does not actually allege a taking of property by exercise of governmental

authority, see SAC ¶ 100 (alleging that actions by Sberbank ultimately “led to the transfer of

[Plaintiff and his brother’s] stake in ‘Krasnaya Polyana’ to the institutions of SberBank [sic]”).

As the Second Circuit has held, “the acts of a private commercial entity, even one that supports a

government, cannot be attributed to a government that has not authorized the private entity to act

on its behalf.” Zappia Middle E. Constr. Co. v. Emirate of Abu Dhabi, 215 F.3d 247, 252 (2d

Cir. 2000); see also Hulton v. Bayerische Staatsgemaldesammlungen, 346 F. Supp. 3d 546, 550




Sberbank its immunity under the Commercial Activity Exception because, for purposes of the
first and third prongs of the exception, no commercial activity is involved in causing an arrest,
and for purposes of the second prong, the arrest allegations are not “based on” and have no
substantial connection to alleged commercial activity involved in the change of ownership of
Krasnaya Polyana in Russia five years earlier.


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(S.D.N.Y. 2018) (“[T]he taking must be done by a sovereign—not a private entity.”) (internal

quotation marks omitted).

       If the alleged loss of Krasnaya Polyana was executed by Sberbank as an alter ego of the

Russian Federation, the expropriation cannot have violated international law for the simple

reason that a foreign sovereign’s expropriation of its own nationals’ property does not violate

international law. As the Supreme Court recently reaffirmed in F.R.G. v. Philipp, 141 S. Ct. 703,

709 (2021), “a foreign sovereign’s taking of its own nationals’ property remains a domestic

affair” and outside the reach of the FSIA’s Expropriation Exception. See also, e.g., F. Palicio y

Compañía, S.A. v. Brush, 256 F. Supp. 481, 487 (S.D.N.Y. 1966) (“[C]onfiscations by a state of

the property of its own nationals, no matter how flagrant and regardless of whether compensation

has been provided, do not constitute violations of international law.”), aff’d, 375 F.2d 1011 (2d

Cir. 1967). As an exception, an expropriation of a company’s property might fall outside the

“domestic takings” rule if the expropriation was based on unreasonable discrimination against

shareholders who were foreign nationals, see Helmerich, 137 S. Ct. at 1318, but Plaintiff and his

brother, the alleged principal shareholders of Krasnaya Polyana, were themselves Russian

nationals.

       To plead the Expropriation Exception, a plaintiff must offer supporting factual allegations

amounting to more than simply “nonfrivolous” claims that property was taken in violation of

international law. Helmerich, 137 S. Ct. at 1316 (“the relevant factual allegations must make out

a legally valid claim that a certain kind of right is at issue (property rights) and that the relevant

property was taken in a certain way (in violation of international law.”) Here, the SAC does not

and cannot establish that the loss of Plaintiff’s ownership in Krasnaya Polyana was a violation of

international law. Nothing of the sort is alleged: a dispute over Sberbank’s conduct in evolving



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from primary lender to owner of Krasnaya Polyana does not implicate violations of international

law. See Russian Defendants’ Br. in Supp. of Mot. to Dismiss (ECF No. 59) (the “Russian

Defendants’ Br.”) at 28-30 (explaining how no claims in the SAC allege violations of

international law); Arndt v. UBS AG, 342 F. Supp. 2d 132, 141 (E.D.N.Y. 2004) (“fraud,

conversion and misrepresentation may be legal theories that can be advanced in many if not all

States, but these are not wrongs expressed by mutual concern and reflected in international

accords” such that these forms of conduct violate international law) (internal punctuation

omitted).

                 3.     The Non-Commercial Tort Exception Does Not Apply

          The SAC equally does not satisfy the exception in 28 U.S.C. § 1605(a)(5), which permits

jurisdiction when “damages are sought…for personal injury or death, or damage to or loss of

property, occurring in the United States and caused by the tortious act or omission” of a foreign

state or agency or instrumentality (the “Non-Commercial Tort Exception”). This exception does

not apply here because the alleged torts took place abroad, the SAC does not plausibly allege

personal injury or property loss to Plaintiff in the U.S., and the exception does not permit claims

based on fraud, misrepresentation and similar conduct that are the foundation of the SAC’s

claims.

          The Non-Commercial Tort Exception applies only when the “entire tort” takes place in

the United States. See Hirsh v. State of Israel, 962 F. Supp. 377, 384 (S.D.N.Y. 1997) (“[G]iven

that Plaintiffs’ allegations involve conduct that occurred—at least in part—in Israel and

Germany, the ‘entire’ tort could not have taken place in the United States as required.”); In re

Terrorist Attacks on Sept. 11, 2011, 714 F.3d 109, 115-16 (2d Cir. 2013) (Non-Commercial Tort

Exception not satisfied because “all of the tortious conduct allegedly…occurred abroad”)

(emphasis in original). Here, the entirety of the alleged torts relating the taking of Plaintiffs’

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ownership in Krasnaya Polyana took place in Russia, not the United States, and the Non-

Commercial Tort Exception therefore cannot apply.            See Russian Defendants’ Br. at 5-7

(showing that all SAC allegations involving conduct in the United States are unrelated to the

alleged taking of Plaintiffs’ ownership interest).

       The FSIA further limits the Non-Commercial Tort Exception with an explicit proviso that

the exception does not apply to claims like the SAC’s state law claims for fraud, conspiracy to

commit fraud, unlawful conversion, malicious abuse of process and unjust enrichment (Counts

V-IX). See 28 U.S.C. § 1605(a)(5)(B) (exception does not apply to “any claim arising out of

malicious prosecution, abuse of process, libel, slander, misrepresentation, deceit, or interference

with contract rights”). Each of the SAC’s purported causes of action, inherently “arise[s] out of”

Plaintiff’s allegations of “misrepresentation, deceit [and] interference with contract rights”

stemming from his loss of ownership in Krasnaya Polyana, which is excluded by the proviso to

the Non-Commercial Tort Exception, or allegations of “abuse of process,” which is also

expressly excluded by the proviso. Attempting to plead these claims by reference to state law

causes of action that use different labels for the same substantive claims still triggers the proviso.

Cabiri v. Gov’t of the Republic of Ghana, 165 F.3d 193, 200 (2d Cir. 1999) (courts should ignore

attempts to “plead around the proviso” of § 1605(a)(5)(B) and focus on the “wrongful acts

alleged to have caused the injury”); Lambros v. Federative Republic of Brazil, 19-cv-1929

(TSC), 2021 WL 1820206, at *4 (D.D.C. May 6, 2021) (“Plaintiff's claims of fraud,

misrepresentation, breach of contract, breach of fiduciary duty, false arrest, and false

imprisonment are explicitly excluded from the tortious conduct exception” of § 1605(a)(5)).




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II.     Mr. Gref Is Immune from Suit as Sberbank Is the Real Party in Interest, and as an
        Immune Official Under the Common Law

        Sberbank, as the actor that ultimately became the owner of Krasnaya Polyana, is the real

party in interest in the SAC’s claims—not Mr. Gref, the Sberbank chairman and CEO who

allegedly helped to effectuate that result for Sberbank. The SAC repeatedly portrays Mr. Gref’s

actions as Sberbank’s leader as playing a role in Sberbank’s ultimate acquisition of its ownership

interest in Krasnaya Polyana. See, e.g., SAC ¶ 28 (“Herman Gref is and was the CEO and

chairman of the executive board of Sberbank.”); ¶ 72 (Mr. Gref allegedly reached agreement

whereby assets of Krasnaya Polyana would “be allocated and transferred to SberBank [sic].”);

¶ 91 (Sberbank eventually became “the owner of 92% of ‘Krasnaya Polyana.’”).

        “Some actions against an official in his official capacity should be treated as actions

against the foreign state itself, as the state is the real party in interest.” Samantar v. Yousuf, 560

U.S. 305, 325 (2010) (quoting Kentucky v. Graham, 473 U.S. 159, 166 (1985) (“an official-

capacity suit is, in all respects other than name, to be treated as a suit against the entity. It is not

a suit against the official personally, for the real party in interest is the entity.”)). In these

circumstances, a dismissal of claims against Sberbank based on its immunity also should extend

to Mr. Gref. See Odhiambo v. Republic of Kenya, 930 F. Supp. 2d 17, 35 (D.D.C. 2013) (“the

Kenyan government is ‘the real party in interest’ and the suit against the individual defendants

will be treated as one against the Republic of Kenya. The Court’s FSIA analysis thus applies to

all defendants including the individuals.”).

        To the extent the SAC alleges acts by Mr. Gref constituting elements of any of the

substantive claims, each of those acts is alleged to have been in his official capacity as the leader

of Sberbank, and the SAC repeatedly treats Mr. Gref as the representative of and functionally

indistinguishable from Sberbank. See, e.g., SAC ¶ 30 (“The DEFENDANTS are and were,


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during all relevant times, responsible for the acts and omissions of their employees, for acts

undertaken within the general area of their authority and for the benefit of the

DEFENDANTS.”); ¶ 31 (“[T]he DEFENDANTS have undertaken responsibility for the acts of

the employees of the DEFENDANTS, wherever taken”); ¶ 72 (“an agreement was reached

during a meeting [with] SberBank [sic] Chairman Herman Gref…whereas it was agreed…an

actual division of assets would be made,” with a third of the assets allocated “to Plaintiff and his

brother” and the balance “to be allocated and transferred to SberBank [sic].”). These allegations

amount to claims against Mr. Gref in his official capacity, with Sberbank presented as the real

party in interest because it—and not Mr. Gref himself—was the alleged beneficiary of the

asserted wrongdoing. As such, the claims against Mr. Gref should be treated as claims against

Sberbank and dismissed under the FSIA’s sovereign immunity principles. See In re Terrorist

Attacks on September 11, 2001, 03-MD-1570 (GBD)(SN), 2021 U.S. Dist. LEXIS 235947, at *8

(S.D.N.Y. Dec. 8, 2021) (state is real party in interest when “any damages in a successful suit

would be paid by the government rather than out of an individual’s ‘own pockets’”) (internal

citation omitted).

       Even if Mr. Gref were an actual party in interest in this suit, the Court would still lack

subject-matter jurisdiction over him because he is immune from suit under settled principles of

common law immunity, which immunize foreign officials for acts undertaken in an official

capacity.   See Matar, 563 F.3d at 14 (“[T]he common law of foreign sovereign immunity

recognize[s] an individual official’s entitlement to immunity for ‘acts performed in his official

capacity.’”) (citation omitted); Eliahu v. Jewish Agency for Israel, 919 F.3d 709, 712 (2d Cir.

2019) (“as foreign government officials acting [in] their official capacity, [sued Israeli officials]

are entitled to immunity”); Weiming Chen v. Ying-Jeou Ma, 12 civ. 5232 (NRB), 2013 WL



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4437607, at *3 (S.D.N.Y. Aug. 19, 2013) (official capacity found when official “executed (and

allegedly breached) the contract at issue” and commercial activity exception does not apply to

common law sovereign immunity for officials.). The conduct by Mr. Gref alleged in the SAC

that is even arguably relevant to the SAC’s claims was undertaken in his official capacity as head

of Sberbank. He is therefore immune from suit on the claims alleged against him in the SAC.

See, e.g., Eliahu, 919 F.3d at 713 (affirming immunity of various Israeli government officials,

because their acts were “official in nature,” even if allegedly improper); El Omari v. Ras Al

Khaimah Free Trade Zone Auth., 16-cv-3895, 2017 WL 3896399, at *10 (S.D.N.Y. Aug. 17,

2017), aff’d sub nom Omari v. Kreab (USA) Inc., 735 F. App’x 30 (2d Cir. 2018) (head of UAE

political subdivision entitled to immunity for alleged wrongful detention because it was

“undertaken through…official channels and on behalf of the” political subdivision); Gomes v.

ANGOP, 11-CV-0580 (DLI) (JO), 2012 WL 3637453, at *12-13, *18-19 (E.D.N.Y. Aug. 22,

2012), aff’d, 541 Fed. App’x 141 (2d Cir. 2013) (dismissing suit against editorial staff of media

company found to be an agency or instrumentality by applying official capacity analysis).2




2
        Insofar as Mr. Gref is being sued in his personal capacity, there is no personal jurisdiction
over him in this action (in addition to the reasons advanced in the Russian Defendants’ Br. at 13-
19) because the only contacts he is alleged to have in the United States are those undertaken in
connection with his work on behalf of Sberbank. In re Terrorist Attacks on Sept. 11, 2001, 718
F. Supp. 2d 456, 476 (S.D.N.Y. 2010) (“contacts [defendant] had with the United States while
acting in his official capacity on behalf of the sovereign state[] cannot be imputed to him for
purposes of determining” personal jurisdiction over him in his personal capacity).


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                                      CONCLUSION

        For the foregoing reasons, the Court should dismiss the SAC as to Sberbank and Herman

Gref.


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                                           Respectfully submitted,

                                           DEBEVOISE & PLIMPTON LLP

                                           By: /s/ John S. Kiernan
                                                   John S. Kiernan
                                                   William H. Taft V
                                                   jskiernan@debevoise.com
                                                   whtaft@debevoise.com

                                                  919 Third Avenue
                                                  New York, New York 10022
                                                  (212) 909-6000

                                                  Counsel for Defendants Sberbank of Russia
                                                  and Herman Gref




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